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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                  JUDGE NINA Y. WANG


Civil Action: 22-cv-01129-NYW-SBP                           Date: June 11, 2025
Courtroom Deputy: Emily Buchanan                            Court Reporters: Sadie Herbert
                                                            (a.m.)/Darlene Martinez (p.m.)

                Parties                                                Counsel

 ERIC COOMER, Ph.D.,                                       Ashley Morgan
                                                           Bradley Kloewer
                                                           Charles Cain
                                                           David Beller
        Plaintiff,

 v.

 MICHAEL J. LINDELL,                                        Christopher Kachouroff
 FRANKSPEECH LLC, and                                       Jennifer DeMaster
 MY PILLOW, INC.,                                           James Duane

        Defendants.


                                   COURTROOM MINUTES


JURY TRIAL – DAY 8

8:53 a.m.      Court in session.

Appearances of counsel. Jury not present.

Ms. DeMaster provides an update with respect to Defendants’ compliance with the Court’s
Minute Order of last evening with respect to the video clips. Defendants request to conduct their
redirect examination of Mr. Lindell in their case-in-chief in order to finish the video clips.
Plaintiff objects. Court grants Plaintiff further examination of Mr. Lindell.

Discussion regarding Defendants’ objections to the demonstrative exhibits that Plaintiff proposes
using with their expert Mr. Bania.
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Defendants object to Mr. Bania’s supplemental report.

ORDERED: The Court takes the matter of Mr. Bania’s supplemental report under
         advisement.

9:23 a.m.      Court in recess.
9:36 a.m.      Court in session.

Jury not present.

Pending before the Court is Defendants’ objection with respect to the supplemental report and
opinions stated by Mr. Doug Bania in his supplemental report.

ORDERED: The Court will consider contemporaneous objections by Defendants to the
         testimony of Mr. Bania at side bar.

9:42 a.m.      Jury present.

9:42 a.m. – 10:16 a.m.         Plaintiff’s witness, Dennis Montgomery, by video deposition.

10:17 a.m. – 11:02 a.m.        Plaintiff’s witness, Brannon Howse, by video deposition.

11:03 a.m.     Court in recess.
11:30 a.m.     Court in session.

Jury not present.

Discussion regarding an exhibit shown in conjunction with the testimony of Mr. Howse that has
not been formally admitted.

Defendants offer Exhibit 117. Plaintiff has no objection.

Exhibit 117 is admitted.

Discussion regarding the timing with respect to the remainder of the testimony.

ORDERED: Plaintiff shall conclude his case no later than lunch tomorrow.

11:37 a.m.     Jury present.

Plaintiff’s witness, Doug Bania, called and sworn.

11:38 a.m.     Direct examination of Mr. Bania by Mr. Beller.
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11:43 a.m.     Court in recess.
11:59 a.m.     Court in session. Off the record discussion between Court and Parties.

Jury not present.

Court advises Parties that the court reporter has fallen ill. Parties have no objection to taking the
lunch break now in order for a new court reporter to fill in.

12:00 p.m.     Court in recess.
12:56 p.m.     Court in session.

Jury not present.

Parties have no objection to the Court including a reference to Exhibit 212 in the final jury
instructions and on the verdict form.

Plaintiff advises the Court that he will not be presenting Dr. Finkell.

Plaintiff provides the Court with a copy of Plaintiff’s proposed instruction on willful and wanton
conduct. Defendants advise the Court that there is a dispute with respect to this instruction.

Mr. Duane advises the Court that Defendants might request permission to recall Dr. Coomer to
the stand.

1:05 p.m.      Jury present.

Plaintiff’s witness, Doug Bania, resumes.

1:05 p.m.      Continued direct examination of Mr. Bania by Mr. Beller.

Plaintiff offers Mr. Bania as an expert in the area of reach and cost related to defamation.
Defendants do not object. The Court finds Mr. Bania is so qualified.

Exhibits 92 and 118 are admitted.

2:08 p.m. – 2:14 p.m. Bench conference.

2:14 p.m.      Continued direct examination of Mr. Bania by Mr. Beller.

2:26 p.m.      Cross examination of Mr. Bania by Mr. Kachouroff.

2:30 p.m. – 2:32 p.m. Bench conference.
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2:32 p.m.      Continued cross examination of Mr. Bania by Mr. Kachouroff.

2:46 p.m. – 2:47 p.m. Bench conference.

2:47 p.m.      Continued cross examination of Mr. Bania by Mr. Kachouroff.

2:49 p.m.      Redirect examination of Mr. Bania by Mr. Beller.

2:52 p.m.      Jury is excused.

Parties confirm that the video clips of Exhibits 248, 247, 229, 230, and 231 are ready and that
Mr. Lindell will be recalled as the next witness.

2:53 p.m.      Court in recess.
3:17 p.m.      Court in session.

Jury not present.

Mr. Duane advises the Court that Defendants intend to offer Exhibit 249 during the recross
examination of Mr. Lindell.

Defendants play Exhibit 249 for the Court.

Plaintiff objects to Exhibit 249.

ORDERED: Exhibit 249 will be excluded.

Court advises the Parties that the jurors have inquired as to the meaning of the words arbitration
and dox. Court has pulled definitions of the words that courts within the Tenth Circuit have used
that are derived from Merriam-Webster Dictionary and Black’s Law Dictionary. Court proposes
to include an instruction with a glossary of these two terms. Court will draft a proposed glossary
for the Parties’ consideration.

3:35 p.m.      Jury present.

Defendant, Michael Lindell, resumes.

3:36 p.m.      Recross examination of Mr. Lindell by Mr. Duane.

3:59 p.m. – 4:01 p.m. Bench conference.

4:02 p.m.      Continued recross examination of Mr. Lindell by Mr. Duane.

4:03 p.m. – 4:05 p.m. Bench conference.
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4:05 p.m.      Continued recross examination of Mr. Lindell by Mr. Duane.

Exhibits 247A, 229A, and 231A are admitted.

4:21 p.m.      Further redirect examination of Mr. Lindell by Mr. Cain.

Plaintiff’s witness, Alex Halderman, called and sworn.

4:25 p.m.      Direct examination of Dr. Halderman by Ms. Morgan.

Plaintiff offers Dr. Halderman as an expert in the field of computer science with specific
expertise in election cybersecurity. Defendants have no objection. The Court finds Dr.
Halderman is so qualified.

Court advises jury regarding admonitions of trial.

4:54 p.m.      Jury excused until June 12, 2025 at 9:00 a.m.

Plaintiff will be proposing a limiting instruction with respect to Exhibits 247A, 229A, and 231A.
Parties shall meet and confer with respect to this limiting instruction.

Discussion regarding the remaining witnesses.

4:58 p.m.      Court in recess.

Trial continued.
Total time in court:   5:49
